Case 9:22-cv-81037-AMC Document 112 Entered on FLSD Docket 12/08/2023 Page 1 of 6




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

                                     CASE NO: 9:22-CV-81037-AMC

  MARK KRIEGER,

                   Plaintiff,

          v.

  TD BANK, N.A., a National Banking
  Association, EQUIFAX INFORMATION
  SERVICES, LLC, a Georgia Limited Liability
  Company, EXPERIAN INFORMATION
  SERVICES, INC., an Ohio Corporation, and
  TRANSUNION, LLC, a Delaware Limited
  Liability Company,

                   Defendants.


                     JOINT MOTION TO EXTEND PRE-TRIAL DEADLINES

          Defendants Equifax Information Services, LLC (“Equifax”) and TD Bank, N.A. (“TD

  Bank”) (collectively, “Defendants”), hereby file this, their Joint Motion to Extend Pre-Trial

  Deadlines by sixty (60) days, and would respectfully show the Court as follows:

          1.       On June 23, 2023, the Court entered its Order Accepting Magistrate Judge

  Reinhart’s Report and Recommendation on Equifax’s Motion for Judgment on the Pleadings [ECF

  Nos. 57, 69] (“Order”). ECF No. 79.1 At this point, the Court dismissed Equifax from the case. In

  the Order, the Court granted Plaintiff “one final opportunity to file a Second Amended Complaint

  to replead its claims against Defendant TD Bank” and required the parties to file a Renewed Joint

  Scheduling Report. Id. (emphasis added).




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   The Court subsequently entered its Final Judgment as to Equifax Information Services, LLC on June 26, 2023 (the
  “Final Judgment”), and thereby terminating Equifax as a Defendant in this matter. ECF No. 80.
Case 9:22-cv-81037-AMC Document 112 Entered on FLSD Docket 12/08/2023 Page 2 of 6




           2.       On July 12, 2023, the Court entered its Order Entering First Amended Scheduling

  Order (the “Scheduling Order”), which set December 11, 2023 as the deadline for the parties to

  “file all pre-trial motions, including motions for summary judgment, and Daubert motions.”2 ECF

  No. 82. The Scheduling Order further set this matter on the Court’s two-week trial calendar

  beginning on April 8, 2024, with the parties’ deadline to submit trial materials on March 4, 2024.

  Id.

           3.       On July 18, 2023, Plaintiff filed his Corrected Second Amended Complaint (the

  “Complaint”). ECF No. 85.

           4.       On September 19, 2023, Defendants jointly filed their Combined Motion to

  Dismiss Corrected Second Amended Complaint (the “Motion to Dismiss”) based on Plaintiff’s

  failure to state claims against TD Bank and Equifax due, in part, on the presence of the same causes

  of action previously dismissed by this Court. ECF No. 97. The parties have fully briefed the Motion

  to Dismiss, which remains pending for resolution by the Court.

           5.       Because Plaintiff improperly added Equifax as a party following this Court’s Final

  Judgment, Equifax cannot plausibly adhere the Court’s December 11, 2023 Pre-Trial Motion

  Deadlines while its Motion to Dismiss remains pending. Moreover, because Defendants have not

  had an opportunity to assert affirmative defenses and do not know what claims (if any) will survive,

  Defendants are unable to prepare and file summary judgment motions until the Court issues its

  ruling on the pending Motion to Dismiss.3




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   Hereinafter, these are collectively referred to as the “Pre-Trial Motion Deadlines.”
  3
   If Plaintiff’s improper claims are allowed to proceed, Equifax anticipates it will require additional time to conduct
  discovery in support of any pre-trial motions.

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Case 9:22-cv-81037-AMC Document 112 Entered on FLSD Docket 12/08/2023 Page 3 of 6




         6.      Moreover, a decision on the Joint Motion to Dismiss will focus the issues that TD

  Bank, Equifax and Plaintiff may need to be brief in the Pre-Trial Motions through the elimination

  of certain causes of action and possibly parties.

         7.      Further, TD Bank and Plaintiff have agreed to participate in second mediation

  scheduled for December 18 just following the current Pre-Trial Motions deadline.

         8.      The Defendants request a sixty-day (60) extension of the Pre-Trial Motion

  Deadlines to February 9, 2024.

         9.      This is the Parties first request for an extension of deadlines in this matter.

         10.     Federal Rules of Civil Procedure 6(b) provides authority for a trial court to extend

  time periods. Additionally, Rule 16(b)(4) specifically allows the modification of a scheduling

  order when good cause is shown. The Defendants submit that good cause exists to extend the Pre-

  Trial Motion Deadlines set forth in the Court’s Scheduling Order for sixty (60) days while the

  Court considers Defendants’ pending Motion to Dismiss.

         11.     The requested extension not only will allow the Parties to conserve precious

  resources and potentially narrow the issues at stake pending the Court’s ruling on the Motion to

  Dismiss and/or the second mediation, but also will not interfere with the Court’s trial setting or

  other Scheduling Order deadlines.

         12.     As such, good cause exists for the extension. The extension is not being sought for

  the purposes of delay.

         WHEREFORE, Defendants, by counsel, hereby request that the Court enter an Order

  granting the Motion to Extend Pre-Trial Deadlines, thus extending the Parties deadline to file all

  pre-trial motions, including motions for summary judgment, and Daubert motions from December

  11, 2023 to February 9, 2024.



                                                      3
Case 9:22-cv-81037-AMC Document 112 Entered on FLSD Docket 12/08/2023 Page 4 of 6




                              LOCAL RULE 7.1(a)(3) CERTIFICATION

         Pursuant to Local Rule 7.1(a)(3), on December 6, 2023, counsel for Defendant Equifax

  Information Services, LLC conferred with Plaintiff’s counsel and Plaintiff agrees to the relief

  requested herein.


  DATED: December 8, 2023                           Respectfully submitted,

                                                    SQUIRE PATTON BOGGS (US) LLP



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                                                4
Case 9:22-cv-81037-AMC Document 112 Entered on FLSD Docket 12/08/2023 Page 5 of 6




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                                        5
Case 9:22-cv-81037-AMC Document 112 Entered on FLSD Docket 12/08/2023 Page 6 of 6




                                   CERTIFICATE OF SERVICE

           I hereby certify that on December 8, 2023, I presented the foregoing JOINT MOTION TO

  EXTEND PRE-TRIAL DEADLINES with the Clerk of the Court using the CM/ECF system,

  which will send notification of such filing to all counsel of record.



                                                /s/
                                                Jason Daniel Joffe
                                                Counsel for Defendant
                                                Equifax Information Services LLC




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